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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION

XIAFEN CHEN,                              Case No. 1:19-cv-00045

              Plaintiff,                  District Judge Timothy S. Black

       v.

UNITED STATES OF AMERICA,

              Defendant.

      UNITED STATES OF AMERICA’S UNOPPOSED MOTION FOR
     EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S AMENDED
                          COMPLAINT


      Defendant the United States of America respectfully moves pursuant to

Federal Rule of Civil Procedure 6(b) for a 60-day extension, to and including August

20, 2019, to answer, move, or otherwise plead in response to Plaintiff’s Amended

Complaint (ECF No. 12).

      On June 7, 2019, Plaintiff filed an Amended Complaint (ECF No. 12) on the

docket and subsequently moved the Court for leave to amend as a matter of right

(ECF No. 13). Defendant’s deadline to answer or move to dismiss the Amended

Complaint is June 21, 2019. See Fed. R. Civ. P. 15(a)(3).

      On June 17, 2019, Plaintiff moved to strike the Amended Complaint and

opposed Plaintiff’s Motion for Leave to Amend the Complaint as a Matter of Right.

(See ECF No. 16.) In that filing, Defendant also requested an extension of 60 days,

to and including August 20 2019, to file a motion to dismiss or answer the Amended

Complaint in the event that the Court determines that the Amended Complaint was
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properly filed. Out of an abundance of caution, Defendant now separately moves for

the same extension of time to respond to Plaintiff’s Amended Complaint if the Court

determines that the Amended Complaint is properly filed. The Amended Complaint

raises new claims and allegations that will require substantial briefing. A 60-day

extension will not prejudice Plaintiff or delay the case because the individual

defendants named in the Amended Complaint will have 60 days after service to

respond to the Amended Complaint. See Fed. R. Civ. P. 12(a)(3). 1

       Counsel for the United States has discussed the extension requested herein

with counsel for Plaintiff. Counsel for Plaintiff advised that Plaintiff does not

consent to the requested extension, but does not oppose the requested extension.



                                            Respectfully submitted,


                                            BENJAMIN C. GLASSMAN
                                            United States Attorney
                                             s/ Matthew J. Horwitz
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1The newly-named individual defendants are not presently represented by undersigned counsel. If
the Court determines that the Amended Complaint was properly filed and the individual defendants
are served, however, the individual defendants may request individual representation by the U.S.
Department of Justice.

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                           CERTIFICATE OF SERVICE
       I hereby certify that on this 20th day of June, 2019, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which serves copies to

all parties of record.

                                               s/Matthew J. Horwitz
                                               MATTHEW J. HORWITZ (0082381)
                                               Assistant United States Attorney




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